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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

FELICIANO VELASCO ROJAS and
LUIS GUZMAN ROJAS,

                  Plaintiffs,

         v.

FIRST PICK FARMS LLC., FIRST                 Case No. 1:23-cv-00604-PLM-SJB
PICK FARMS MANAGEMENT, LLC.,
HB HIVE, LLC., GROW BLUE
FARMS, LLC., GROW BLUE FARMS
HOURLY, LLC., and GROW BLUE
FARMS SALARY, LLC.,

                  Defendants.



NOTICE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

         Pursuant to Federal Rule of Civil Procedure 7.1:

         Defendant Grow Blue Farms Hourly, LLC hereby states that it is a wholly-

owned subsidiary of Grow Blue Farms, LLC. No publicly held company owns

more than 10% of the stock of Grow Blue Farms Hourly, LLC or Grow Blue

Farms, LLC.

         Defendant Grow Blue Farms Salary, LLC hereby states that it is a wholly-

owned subsidiary of Grow Blue Farms, LLC. No publicly held company owns

more than 10% of the stock of Grow Blue Farms Salary, LLC or Grow Blue Farms,

LLC.


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         Defendant First Pick Farms LLC hereby states that it is a wholly-owned

subsidiary of Grow Blue Farms, LLC. No publicly held company owns more than

10% of the stock of First Pick Farms LLC or Grow Blue Farms, LLC.

         Defendant Grow Blue Farms, LLC hereby states that it is a wholly-owned

subsidiary of Asellus Michigan Blue LLC. No publicly held company owns more

than 10% of the stock of Grow Blue Farms LLC or Asellus Michigan Blue LLC.

DATED: September 5, 2023                      Respectfully submitted,

                                              SEYFARTH SHAW LLP


                                              By: /s/ Andrew Scroggins
                                                 Andrew L. Scroggins
                                                 ascroggins@seyfarth.com


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Attorneys for Defendants First Pick
Farms LLC; Grow Blue Farms, LLC;
Grow Blue Farms Hourly, LLC; and
Grow Blue Farms Salary, LLC




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                           CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on September 5, 2023, he

caused the foregoing to be filed with the Clerk of the Court via the Court’s

CM/ECF electronic case filing system, which will serve notice upon all counsel of

record.

                                        By: /s/ Andrew L. Scroggins




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